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                                           Wednesday, September 28, 2022 at 09:04:21 Central Daylight Time


Subject:     Rosenfeld v. AC2T, Inc.
Date:        Friday, January 7, 2022 at 2:42:42 PM Central Standard Time
From:        Cal Mayo
To:          Boyle, Edward P., Dimon, Anna G.
CC:          Yitz Kopel

AGachments: image001.png, 12.17.2021 - Yee Subpoena.pdf

Ed and Anna,
As I men,oned in our call earlier this a5ernoon, Dr. Don Yee has authorized me to accept service of the
subpoena (a?ached) directed to him. Dr. Yee reserves all objec,ons and will respond in wri,ng no later
than Friday, January 21, 2022. I expect to produce some responsive documents in Dr. Yee’s possession
at or about the same ,me as the wri?en response. To the extent Dr. Yee cannot produce at that ,me
responsive documents for which no objec,on exists, I will advise you when to reasonably expect to
receive a supplemental produc,on.
Dr. Yee will review electronic and hard copy materials (to the extent they exist) for responsive
documents. He will also review personal sources (e.g., email, text, etc.) to the extent those sources
exist and a search is reasonably necessary.
As for his deposi,on, we will discuss arrangements for a date (likely on a Tuesday in February) should
you decide to move forward with the deposi,on a5er review of the documents produced by Dr. Yee.
Have a good weekend.
Cal Mayo
                           J. Cal Mayo, Jr.
                           Mayo Mallette
                           Oxford & Jackson Offices

                           E: cmayo@mayomallette.com
                           O: 662.236.0055 J: 601.366.1106
                           D: 662.513.4897 C: 662.801.3837
                           2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
                           4400 Old Canton Road, Suite 150 | Jackson, MS 39211
                           mayomallette.com




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